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Laurence J. (“Laird”) Lucas (ISB # 4733)
llucas@advocateswest.org
Todd C. Tucci (ISB # 6526)
ttucci@advocateswest.org
Sarah Stellberg (ISB #10538)
sstellberg@advocateswest.org
Advocates for the West
P.O. Box 1612
Boise, ID 83701
(208) 342-7024
(208) 342-8286 (fax)

Attorneys for Plaintiffs

                           UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF IDAHO


WESTERN WATERSHEDS PROJECT, and
CENTER FOR BIOLOGICAL DIVERSITY,                  Case No. 1:18-cv-00187-REB

       Plaintiffs,                                PLAINTIFFS’ COMBINED
                                                  RESPONSE/REPLY BRIEF ON CROSS-
       v.                                         MOTIONS FOR PARTIAL SUMMARY
                                                  JUDGMENT (PHASE ONE)
DAVID BERNHARDT, Secretary of Interior,           (ECF NOS. 135, 140, 148)**
et al.,

       Defendants.

* Official Defendant automatically substituted
per Fed. R. Civ. P. 25(d)




       ** This brief totaling 30 pages complies with the page limits of District of Idaho Local
       Rule 7.1 because it is a combined response brief opposing Federal Defendants’ and
       Intervenors’ Phase One summary judgment motions (ECF Nos. 140 & 148) and a reply
       brief in support of Plaintiffs’ Phase One summary judgment motion (ECF No. 135).
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                                       INTRODUCTION

       Defendants say “Plaintiffs’ claims challenging IM 2018-034 are without merit” but offer

only the same arguments the Court rejected in its Preliminary Injunction Order (ECF No. 74),

i.e., that IM 2018-034 is a “guidance” document immune from judicial review and does not

violate NEPA, FLPMA, or the APA. The Court can readily reject these arguments and enter

judgment for Plaintiffs because IM 2018-034 imposes binding requirements on BLM, was

adopted unlawfully, and has real-world impacts harming Plaintiffs and the public.

       Those real-world impacts include the severe restriction of public involvement in BLM’s

June and September 2018 “Phase One” lease sales in Nevada, Utah, and Wyoming. Defendants

and Intervenors claim “no harm, no foul” from BLM’s application of IM 2018-034 to the Phase

One lease sales, since Plaintiffs were able to submit comments and protests. But they do not even

acknowledge, much less refute, the many declarations from Plaintiffs and other public interest

organizations detailing how BLM’s deliberate effort to curtail public input under IM 2018-034 in

fact hindered their participation on those sales. The Court should thus hold the sales unlawful.

       The normal remedy under the APA is to vacate and set aside unlawful agency action.

That presumption applies equally to IM 2018-034 and the Phase One lease sales here. While

equitable considerations may justify leaving an unlawful action in place while an agency cures

its violations, see Idaho Farm Bureau Fed’n v. Babbitt, 58 F.3d 1392, 1405–06 (9th Cir. 1995),

Defendants and Intervenors fail to demonstrate such equitable circumstances—particularly

environmental harm—to justify deviating from the normal remedy here. To the contrary,

Defendants and Intervenors pursued the Phase One sales with full knowledge of Plaintiffs’

lawsuit and the likely public participation violations, so they should not now benefit by having

those decisions left intact in any manner.



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       The Ninth Circuit has also made clear that “[t]he effect of invalidating an agency rule is

to reinstate the rule previously in force.” Paulsen v. Daniels, 413 F.3d 999, 1008 (9th Cir. 2005).

Here, that means IM 2010-117 is reinstated upon vacatur of IM 2018-034. Defendants claim the

“irony of this lawsuit” is that IM 2010-117 also did not go through notice-and-comment

procedures. But there is nothing ironic about Plaintiffs seeking meaningful relief for the legal

violations they have proven. IM 2010-117 better preserves public input into BLM oil and gas

leasing, consistent with NEPA and FLPMA; and reinstating it avoids a regulatory vacuum that

Defendants apparently want the Court to allow. And contrary to their objection that IM 2010-117

would impose procedures of “Plaintiffs’ making,” it was, quite obviously, crafted by BLM itself.

The Court should thus reinstate the provisions of IM 2010-117 until BLM complies with its

FLPMA duty to adopt regulations for public participation in its oil and gas leasing decisions

                                          ARGUMENT

I.     IM 2018-034 IS A FINAL AGENCY ACTION.

       Defendants rehash their argument that IM 2018-034 is mere “guidance” and thus not a

reviewable action under the APA. But the Court previously considered and rejected those same

arguments in its PI Order, and Defendants provide no basis for reaching a different result now.

       A.      IM 2018-034 Was the Consummation of BLM’s Decision-Making Process.

       Under the first prong of Bennett v. Spear, 520 U.S. 154 (1997), IM 2018-034 is a final

action because it was the consummation of BLM’s decision-making process on the issues it

addressed. See BLMW828–832 (copy of IM 2018-034). The IM states that “[t]his policy is

effective immediately,” and “will be implemented across the BLM.” BLMW831–832. It requires

a parcel review timeframe “no longer than 6 months,” BLMW829, and mandates that a “10-day

public protest period will begin the day the sale notice is posted.” BLMW831. This language is



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not “tentative or interlocutory,” see Bennett, 520 U.S. at 178, but rather definitive and binding.

       The record also shows that BLM field offices believed compliance with IM 2018-034

was mandatory. See, e.g., WY7816 (“the IM was effective immediately, so . . . 10 day protest

was in effect”); WY20522 (memo announcing Wyoming BLM’s “double up” process for adding

parcels to “comply” with IM 2018-034). This underscores its finality. See Columbia Riverkeeper

v. U.S. Coast Guard, 761 F.3d 1084, 1094–95 (9th Cir. 2014) (agency action is final if

“immediate compliance with its terms is expected”).

       Defendants concede that “the IM is final in the sense that BLM intended the procedures

would govern” until changed. Defs. Opp. at 13 (ECF No. 141). But they contend that IM 2018-

034 cannot be considered final because it left certain matters to the discretion of field staff, such

as the type of NEPA document to use. Id. at 13–14. This argument is unavailing. Defendants do

not claim that BLM staff have discretion to revisit the issues which IM 2018-034 did

conclusively address, and the fact that IM 2018-034 did not comprehensively determine all

aspects of BLM’s lease review process does not render it any less final. See Pac. Gas & Elec.

Co. v. Fed. Power Comm’n, 506 F.2d 33, 38 (D.C. Cir. 1974) (action must be “finally

determinative of the issues . . . to which it is addressed”). As to Defendants’ chosen example, IM

2018-034 does constrain the discretion of BLM staff on the type of NEPA document to use. See

BLMW830 (if “the authorized officer confirms that the proposed leasing action has been

adequately analyzed in existing NEPA document(s) . . . [a DNA] will be used”). IM 2018-034

thus meets the first Bennett prong, as the Court correctly ruled. See PI Order at 20–23.

       B.      IM 2018-034 Determines Obligations of Agency Decision-makers and Rights
               of Public Commenters, and Has Legal Consequences.

       IM 2018-034 is also an action by which “rights or obligations have been determined” and

from which “legal consequences will flow” under the second Bennett prong, 520 U.S. at 178.

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       Contrary to Defendants’ argument, courts consider this prong met where, as here, the

agency action alters the obligations of agency officials, regardless of its effect on private parties.

See McLouth Steel Prods. Corp. v. Thomas, 838 F.2d 1317, 1320 (D.C. Cir. 1988) (“If a

statement denies the decisionmaker discretion in the area of its coverage . . . then the statement is

binding, and creates rights or obligations.”); Nat. Res. Def. Council v. EPA, 643 F.3d 311, 319–

20 (9th Cir. 2013) (guidance binding on EPA regional administrators was final); W. Energy All.

v. Salazar, No. 10-cv-237F, 2011 WL 3738240, at *6–7 (D. Wyo. Aug. 12 2011) (BLM IM was

a final agency action where it “bind[s] the Federal Respondents”).1 IM 2018-034 binds BLM

staff in several ways, including the requirements to complete the lease review process in 6

months and to allow only a 10-day protest period. As the Court aptly characterized it, the

provisions of IM 2018-034 “collectively prescribe and require an unmistakably different

regulatory framework in which BLM now handles its oil and gas lease parcel reviews and

leasing decisions.” PI Order at 25.2



1
 Defendants argue the IM in Western Energy violated the Energy Policy Act, while “IM 2018-
034 does not contravene a specific statutory requirement to conduct NEPA in a particular way.”
Defs. Opp. at 16. To the contrary, as the Court agreed in its PI Order, IM 2018-034 does
contravene both NEPA and FLPMA. But such statutory violations are not needed for the IM to
be a final agency action, as long as the Bennett test is satisfied—as it is here.
2
  Defendants cite several D.C. Circuit cases where agency guidance documents were held not to
be final actions, see Defs. Opp. at 15, but they are inapposite because none of them bound the
agency or any other party, in contrast to IM 2018-034. See Sierra Club v. EPA, 873 F.3d 946,
952–53 (D.C. Cir. 2017) (change to guidance on calculating certain air emissions not final action
where “on its face and as applied” guidance was not binding, allowing alternative methods to be
used); Ass’n of Flight Attendants-CWA v. Huerta, 785 F.3d 710, 717–19 (D.C. Cir. 2015) (FAA
notice to safety inspectors that did not bind airlines—which “are free to ignore” it—not a final
action); Nat’l Mining Ass’n v. McCarthy, 758 F.3d 243, 250-53 (D.C. Cir. 2014) (EPA guidance
to staff on handling surface coal mining permits had no binding effect on regulated entities or
states, and was not final action); Ctr. for Auto Safety v. Nat’l Highway Traffic Safety Admin., 452
F.3d 798, 807–11 (D.C. Cir. 2006) (agency guidance to automakers on voluntary “regional
recalls” which did not threaten any enforcement action not a final action).

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       While this alone is sufficient to satisfy the second prong of Bennett, IM 2018-034 also

has “legal consequences” by purporting to alter BLM’s legal duty, under both FLPMA and

NEPA, to facilitate public involvement in its leasing decisions. NEPA regulations provide that

agencies “shall” and “must” involve the public. 40 C.F.R. §§ 1501.4(b), 1506.6, 1500.2(d),

1500.1(b); 43 C.F.R. § 46.305(a). The Ninth Circuit has clarified that the NEPA regulations

mean an agency “must permit some public participation when it issues an EA.” Cal. Trout v.

Fed. Energy Regulatory Comm’n, 572 F.3d 1003, 1016 (9th Cir. 2009). FLPMA similarly

requires public involvement in public lands decisions. See 43 U.S.C. § 1739(e). IM 2018-034

contravenes these requirements by making public participation discretionary, stating in section

III.B.5 that BLM offices “may provide for public participation during the NEPA process.”

BLMW830. As this Court held, “[d]iscretionary public participation opportunities are not

consistent with FLPMA and NEPA.” PI Order at 38; see also W. Watersheds Project v.

Kraayenbrink, 538 F. Supp. 2d 1302, 1315–16 (D. Idaho 2008) (holding unlawful BLM

regulatory revision that sought to grant BLM “forbidden discretion” not to involve the public).

By purporting to alter BLM’s legal duty under NEPA and FLPMA, IM 2018-034 thus has legal

consequences.

       Defendants ignore these legal consequences and contend the second prong of Bennett is

not met because IM 2018-034 has no “immediate and practical” effect on Plaintiffs’ rights or

obligations. Defs. Opp. at 14. But the IM did have an “immediate and practical impact” on

Plaintiffs and the interested public, including by eliminating mandatory comment periods;

limiting protest periods to just 10 days; and increasing the scale of leasing the public must

comment on at each step. See ECF Nos. 30-2 to 30-8, 63-1, 63-2, 135-3 to 135-7 (supporting

declarations); see also Frozen Food Express v. United States, 351 U.S. 40, 43–44 (1956)



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(considering the “immediate and practical impact” of agency order); U.S. Army Corps of Eng’rs

v. Hawkes Co., 136 S. Ct. 1807, 1815 (2016) (affirming “pragmatic” approach to finality).

       Defendants also argue that Plaintiffs are not legally harmed by IM 2018-034 limiting

protests to just 10 days because FLPMA does not require a protest period. Defs. Opp. at 25–26.

But that is irrelevant to the analysis of whether IM 2018-034 is a final action. BLM has provided

for protests as part of its leasing process since at least 1985. See WY39055–67 (BLM Manual

Handbook 3100-1 (1985)); see also WY39697-706 (IM 2005-176, providing a 30-day protest

period). Interested parties risk dismissal in federal court for failure to exhaust administrative

remedies if they do not follow the protest process.3 Additionally, as the Phase One sales here

illustrate, protest periods are now commonly the only opportunity for the public to submit site-

specific and up-to-date information to BLM on proposed leases, since IM 2018-034 mandates

use of DNAs, without public comment, under certain circumstances. See Section III.B, infra.

These, too, are “immediate and practical impact[s]” satisfying the second Bennett prong.

II.    IM 2018-034 IS PROCEDURALLY AND SUBSTANTIVELY INVALID.

       A.      BLM Unlawfully Issued IM 2018-034 Without Notice-and-Comment
               Procedures Required Under FLPMA and the APA.

       Defendants again insist that IM 2018-034 is simply a “general statement of policy” and

thus exempt from notice-and-comment requirements. See Defs. Opp. at 17–20. But Plaintiffs


3
  Defendants have repeatedly argued in other cases—including unsuccessfully before this
Court—that a party’s failure to follow BLM administrative review procedures constitutes a
failure to exhaust administrative remedies. See, e.g., Idaho Watersheds Project v. Hahn, 307
F.3d 815, 824–29 (9th Cir. 2002); W. Watersheds Project v. U.S. Dep’t of Interior, No. 1:15-cv-
47-REB (D. Idaho Sept. 30, 2016), ECF No. 52. Defendants now seem to concede such
exhaustion is not required under the APA and Darby v. Cisneros, 509 U.S. 137 (1993). See Defs.
Opp. at 26. But their exhaustion argument has succeeded in other cases, and there is no assurance
BLM won’t seek dismissal on this ground again. See, e.g., Eason Land Co. v. Sec’y of U.S. Dep’t
of Interior, No. 2:14-cv-00951-SU, 2015 WL 1538501, at *9 (D. Or. Apr. 7, 2015) (plaintiffs
failed to exhaust after they elected not to file a protest or appeal).

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have already shown, and the Court agreed, that IM 2018-034 is not a policy statement but rather

a substantive rule unlawfully adopted without notice-and-comment procedures required under

FLPMA and the APA. See PI Order at 33–35.

        Under the APA, the “critical factor” in distinguishing a general statement of policy from

a substantive rule is “the extent to which the challenged [directive] leaves the agency, or its

implementing official, free to exercise discretion to follow, or not to follow, the [announced]

policy in an individual case.” Mada-Luna v. Fitzpatrick, 813 F.2d 1006, 1013 (9th Cir. 1987)

(internal citation omitted) (alteration in original). IM 2018-034 fails this standard. It is written in

binding terms and leaves BLM officials no discretion as to the details relevant here: that BLM

must use a 6-month parcel review period; that participation is not required for every lease sale;

and that BLM must allow only a 10-day protest period. “These are requirements (not general

statements of policy).” See PI Order at 34.4

        Defendants argue that, “to a certain extent, [IM 2018-034] could also be considered to be

an interpretive rule, as it advises the public about how it will carry out the oil and gas leasing

process in accordance with existing rules and regulations.” Defs. Opp. at 18. However,

interpretive rules cannot be “inconsistent with” existing laws or “impose new rights or

obligations.” See Sacora v. Thomas, 628 F.3d 1059, 1070 (9th Cir. 2010). IM 2018-034 fails on

both counts. As explained above, supra section I.B, it is inconsistent with NEPA and FLPMA by

purporting to make public participation discretionary. Additionally, IM 2018-034 imposes a legal


4
  The Court declined to enjoin the IM’s 6-month limit for parcel reviews on the assumption that
“public participation provisions can be fulfilled” within that time. PI Order at 56. The record
now before the Court shows otherwise. See Supp. Fuller Decl. ¶¶ 8–10 (BLM staff admitting that
analyses were expedited and comment periods shortened because “everyone was crunched” by
the 6-month deadline). The prior rule, IM 2010-117, imposed no deadline. Because IM 2018-034
was unlawfully adopted, this provision should now be vacated; and reinstating IM 2010-117
would allow BLM field offices a longer timeframe, if necessary for adequate NEPA compliance.

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right or obligation by requiring BLM to provide a 10-day protest period. BLMW831 (IM 2018-

034 at IV.B). This protest right is not elsewhere codified. Thus, far from merely interpreting

existing regulations, BLM has impermissibly effected a substantive change in existing law by

informal means. See Elec. Privacy Info. Ctr. v. U.S. Dep’t of Homeland Sec., 653 F.3d 1, 6–7

(D.C. Cir. 2011) (interpretive rule cannot be used to effect “a substantive regulatory change”).5

       Defendants warn that “[i]f Plaintiffs are correct, then . . . BLM also would be prohibited

from providing any sort of guidance to its field offices on how to conduct the NEPA process in

particular contexts.” Defs. Opp. at 24. This extremist position ignores the obvious fact that BLM

could have lawfully provided mere guidance to field staff about the length of comment periods

or similar matters covered by IM 2018-034. But that is not what BLM attempted here. Rather,

BLM prescribed a binding and “unmistakably different regulatory framework” for its leasing

program, PI Order at 24. If BLM objects to the time a proper rulemaking process would take, its

complaints should be addressed to Congress.

       Finally, Defendants assert that Natural Resources Defense Council v. Jamison, 815 F.

Supp. 454 (D.D.C. 1992), involved a “failure to act” claim under APA § 706(1), and argue

Plaintiffs should have brought a similar claim here to compel BLM regulations regarding public

involvement in oil and gas leasing. Defs. Opp. at 19. But the availability of an APA § 706(1)

“failure to act” claim does not preclude Plaintiffs from challenging IM 2018-034 as a de facto

rule which was unlawfully adopted without any public involvement.6


5
  Moreover, Defendants’ argument that “Plaintiffs have failed to demonstrate in any way that the
procedures in IM 2018-034 are inconsistent with regulations,” Defs. Opp. at 18, completely
ignores the Court’s prior holding to the contrary. See PI Order at 36–42.
6
  Defendants’ reading of Jamison is also doubtful, as it appears the court there focused on
plaintiffs’ challenge under APA § 706(2) to BLM’s guidance manual as unlawfully promulgated
without notice-and-comment, like here. Compare 815 F. Supp. at 461 (expressly analyzing a


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       For these reasons and those previously briefed, 7 the Court should hold that BLM

unlawfully adopted IM 2018-034 without notice-and-comment procedures.

       B.      IM 2018-034 is Substantively Invalid.

       These procedural claims are sufficient grounds to vacate IM 2018-034, but Plaintiffs have

also shown that the substance of IM 2018-034 is facially invalid, on two independent grounds.

               1.      IM 2018-034 Is Contrary to BLM’s Public Participation Mandates Under
                       NEPA and FLPMA

       Defendants claim that IM 2018-034 satisfies NEPA and FLPMA because it “allows BLM

officials to provide for public participation when it deems such participation to be appropriate.”

Defs. Opp. at 23. This argument is unavailing. While IM 2018-034 may not dictate the length of

any comment period, it impermissibly grants BLM discretion to entirely shut the public out from

leasing decisions, by replacing “will” with the discretionary “may.” Compare IM 2010-117 §

III.C.7, with IM 2018-034 § III.B.5. As the Court correctly held, “[d]iscretionary public

participation opportunities are not consistent with FLPMA and NEPA.” PI Order at 38.

       For lease sales approved through a DNA, the IM also categorically declares that public

comment is not required. Even assuming a DNA without fresh public comment satisfies

NEPA—which Plaintiffs dispute—this practice violates FLPMA Section 309(e)’s requirement

for public input on all management decisions—regardless of whether a different decision was



different claim under § 706(1)); with id. at 468 (claim regarding FLPMA § 309(e) not
mentioning § 706(1) or its unique standard). Even accepting Defendants’ reading, Jamison
applies equally here in holding that BLM cannot evade FLPMA § 309(e) by structuring public
participation through internal guidance, instead of proper regulations.
7
  Defendants offer no defense to Plaintiffs’ separate argument that BLM’s failure to seek any
public comment on its NEPA procedures under IM 2018-034 violated 40 C.F.R. § 1506.6
(agencies must “make diligent efforts to involve the public in preparing . . . . their NEPA
procedures.”). See Pls. Op. Br. at 9–10 (ECF 125-1). This too demonstrates that the issuance of
IM 2018-034 without any public involvement was procedurally improper.

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previously studied under NEPA.

       Defendants next argue that whether BLM allows sufficient public involvement under

FLPMA Section 309(e) “should be judged in the context of all of the prior planning and public

involvement that preceded the leasing decision.” Defs. Opp. at 23. However, FLPMA expressly

requires public participation in both planning and management decisions. See 43 U.S.C.

§ 1712(a) (RMP development); 43 U.S.C. § 1739(e) (management decisions). Defendants’

position would improperly render Section 309(e) meaningless. See Boise Cascade Corp. v. EPA,

942 F.2d 1427, 1432 (9th Cir. 1991) (“[w]e must interpret statutes as a whole, giving effect to

each word” such that no provisions are rendered “inconsistent, meaningless or superfluous.”).

       Defendants also fail to persuasively distinguish Kraayenbrink, 538 F. Supp. 2d 1302. Def

Opp. at 24. They claim the grazing regulation amendments there “fundamentally eliminate[d]

public involvement from actions that the public was previously invited to provide input on.”

Defs. Opp. at 18. But IM 2018-034 eliminates public involvement from sales approved with a

DNA and removes the previously-guaranteed comment period on lease sale EAs, leaving the

decision to allow public input to the discretion of BLM officials, like Kraayenbrink. See 538 F.

Supp. 2d at 1315 (“BLM asserts that the revisions do not prevent it from seeking public input at

its discretion. Assuming that is true, the revisions would violate FLPMA.”).

               2.     IM 2018-034 Is an Arbitrary and Capricious Change in Policy

       IM 2018-034 was also arbitrary and capricious because BLM failed to provide a reasoned

explanation for limiting public participation in oil and gas leasing compared to IM 2010-117.

BLM “must show that there are good reasons for [a] new policy.” F.C.C. v. Fox Television

Stations, Inc., 556 U.S. 502, 515 (2009). And if the “new policy rests upon factual findings that

contradict those which underlay its prior policy,” the agency must “provide a more detailed



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justification than what would suffice for a new policy created on a blank slate.” Id.

       Here, BLM issued IM 2010-117 in response to DOI’s 2009 Report which recommended

reforms to BLM’s lease review process, including greater public participation to improve leasing

decisions. See ECF No. 30-15 (2009 Report). IM 2010-117 aimed to improve the quality and

transparency of BLM’s reviews and provide meaningful public involvement in the process,

including through the required 30-day NEPA comment and protest periods. See BLMW450 (IM

2010-117, Purpose). Ensuring meaningful public participation in BLM’s land management

decisions is not only mandated by FLPMA and NEPA, as explained above, but helps ensure that

BLM makes sound public lands decisions in accordance with its statutory mandates—as BLM

has recognized. See, e.g., 60 Fed. Reg. 9,893, 9,895 (Feb. 22, 1995) (In adopting regulations for

increased public involvement in grazing management, BLM explained that “the public interest

will be best served if a wide range of interests are represented when decisions are being made”

and “increased public participation is essential to achieving lasting improvements in the

management of our public lands”); see also W. Watersheds Project v. Kraayenbrink, 632 F.3d

472, 487–89, 494 (9th Cir. 2011) (noting BLM’s recognition that “public input helps identify

environmental impacts,” and criticizing later changes to reduce public involvement as

“discordant with the lessons learned from the history of . . . increased public participation.”).

       As they did during the preliminary injunction phase, Defendants argue that reducing

public comment and protest periods was justified because the October 2017 DOI Report

concluded that IM 2010-117 resulted in delays and “unnecessary impediments and burdens” in

approving oil and gas leases. See Defs. Opp. at 28. But the rationales stated in IM 2018-034 and

the 2017 Report reveal that BLM only took into account costs and delays under IM 2010-117,

while completely ignoring the benefits of increased public participation and better decision-



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making that it previously acknowledged.

       “An agency cannot simply disregard contrary or inconvenient factual determinations that

it made in the past, any more than it can ignore inconvenient facts when it writes on a blank

slate.” Organized Village of Kake v. U.S. Dep’t of Agric., 795 F.3d 956, 969 (9th Cir. 2015)

(quoting Fox, 556 U.S. at 537) (Kennedy, J., concurring)). Without considering both costs and

benefits of public participation, BLM’s adoption of IM 2018-034 was arbitrary and capricious.

See California v. BLM, 277 F. Supp. 3d 1106, 1122 (N.D. Cal. 2017) (BLM was arbitrary and

capricious where it “only took into account the costs to the oil and gas industry of complying

with the [prior rule] and completely ignored the benefits.”). Accordingly, the Court should grant

partial summary judgment to Plaintiffs holding IM 2018-034 unlawful.

III.   IM 2018-034 WAS APPLIED TO THE PHASE ONE LEASE SALES TO
       UNLAWFULLY RESTRICT PUBLIC INVOLVEMENT.

       Defendants and Intervenors do not dispute that BLM followed and applied IM 2018-034

in approving the Phase One sales. But they argue that does not matter, since BLM allowed public

comment on most of the sales and Plaintiffs were able to submit comments and protests.

Intervenors also argue that Plaintiffs had adequate opportunities at the RMP development stage

to make their views known. None of these arguments has merit.

       A.      All Phase One Sales Allowed Just 10-Day Protest Periods.

       It is undisputed that BLM allowed only a 10-day protest period on each Phase One sale.

See Pls. SOF ¶¶ 22–23 (June 2018 WY), ¶¶ 29–30 (June 2018 NV), ¶¶ 33–35 (Sept. 2018 NV), ¶

41 (Sept. 2018 UT); Defs’ SOF, ¶ 12 (Sept. 2018 WY). This fact alone is dispositive in showing

that the Phase One lease sales were unlawful.

       Defendants again argue that FLPMA does not require protests, so Plaintiffs have no legal

basis for complaining that IM 2018-034 shortened the prior 30-day protest period under IM

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2010-117 to just 10 days. But as already discussed above, the fact that BLM provides for protests

in the oil and gas leasing process means that Plaintiffs and other members of the public must

utilize it, or risk losing their ability to challenge lease sales in court. See Section I.B, supra.

        Moreover, as Plaintiffs’ declarations establish, BLM’s shortening of the protest period to

just 10 days substantially limited the ability of Plaintiffs and others to provide meaningful input

to BLM on the proposed Phase One lease sales. See Emmerich Decl. ¶¶ 21 (ECF No. 30-7)

(explaining that the shorter protest period compromised Basin and Range Watch’s participation

for the June 2018 Nevada sale; “I had to have it finished 2 days before the deadline to get it in on

time—I live in a small community that doesn’t have overnight mail and protests cannot be

submitted electronically. . . . A lot of details had to be eliminated to meet the deadline”); Baker

Decl. ¶ 39 (ECF No. 30-6) (Upper Green River Alliance “could have provided historical

knowledge and scientific research [regarding September 2018 Wyoming sale] that BLM may not

have had time or resources to research and employ, but we were not able to because of the

extremely short protest period and competing priorities”); Harrison Decl. ¶¶ 12, 14 (ECF No. 30-

8) (10-day protest period does not allow for adequate participation of groups like Wyoming

Wilderness Association); Molvar Decl. ¶ 26 (ECF No. 30-3) (WWP “would have provided more

sage-grouse and migratory bird information for the June 2018 Battle Mountain oil and gas lease

sale protest in Nevada” but for extremely short protest period).

        BLM’s decision to allow just a 10-day protest period for these sales was also arbitrary

and capricious, as BLM lacked any reasoned basis for departing from its prior practice. Prior to

IM 2018-034, BLM staff “acknowledged that the protest process can serve as a check on agency

decisions to offer parcels for lease sale,” and that “protests brought issues to their attention that

they may not otherwise have factored into their decision making and therefore ultimately



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improved their decisions.” U.S. Gov’t Accountability Off., GAO-10-670, Onshore Oil and Gas:

BLM’s Management of Public Protests to Its Lease Sales Needs Improvement 18 (2010),

https://www.gao.gov/products/GAO-10-670. Again, IM 2018-034 never took into account these

benefits of protests, but only focused on costs and delays in issuing oil and gas leases under the

Trump Administration’s “energy dominance agenda.” For the Phase One lease sales, BLM thus

had no reasoned basis for departing from its prior practices and allowing only 10-day protest

periods, other than IM 2018-034. As already explained, IM 2018-034 was unlawful, in part,

because it too lacked a reasoned basis in reversing its prior practice. Thus, each Phase One lease

sale was arbitrary and capricious in allowing only 10-day protest periods pursuant to IM 2018-

034, and must be held unlawful by the Court.

       B.      The September 2018 Comment Periods Were Not Adequate Either.

       Defendants contend that each Phase One lease sale allowed adequate public comment,

while downplaying facts showing that BLM shortened or eliminated comment periods on the

September 2018 Phase One sales in ways that foreclosed meaningful public involvement.8

               1.      September 2018 Wyoming Lease Sale

       BLM released two draft EAs in January 2018 for the first batch of parcels proposed for

the September 2018 Wyoming sale, and allowed 30-day comment periods—before IM 2018-034

was released. Pls. SOF ¶¶ 43–45. After IM 2018-034 issued, BLM staff added a second “double

up” batch of 256 additional parcels to comply with IM 2018-034. See WY18972; Pls. SOF ¶¶ 48.

The large second batch of parcels was spread across all but two BLM Wyoming field offices.


8
 Whether BLM’s NEPA documents adequately studied impacts and alternatives of the Phase
One sales, and whether the Phase One sales violate requirements of the 2015 Sage-grouse Plans
and FLPMA, are issued raised in Plaintiffs’ First, Second and Third Claims for Relief, which are
not addressed in these Phase One summary judgment briefings. Plaintiffs reserve the right to
address those claims if the Court does not hold unlawful and vacate the sales in Phase One.

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Pls. SOF ¶ 47. BLM posted a draft EA for this second batch on May 24, 2018 and allowed just a

14-day comment period—and then a problem with BLM’s public comment portal caused

difficulties in filing within that abbreviated timeframe. Id. ¶ 49.

       BLM thus implemented IM 2018-034 to allow just 14 days (10 business days) for the

public to review and comment on the May 2018 draft EA for the second batch of parcels—which

were double the number of the parcels addressed in the two January draft EAs, and covered

much more of the state and sage-grouse habitats. These abbreviated procedures prevented

Plaintiffs and others from being able to provide detailed, site-specific information. Baker Decl. ¶

39 (ECF No. 30-6) (Upper Green River Alliance was unable to provide comments on this sale

due to the shortened deadlines); Harrison Decl. ¶¶ 12, 14 (ECF No. 30-8) (Wyoming Wilderness

Association had insufficient time “to bring a lot of information to BLM’s attention because the

EA was a rushed, poor-quality, uninformative document”); Molvar Decl. ¶ 26 (ECF No. 30-3)

(limited time meant WWP had to sign on to group comments rather than comment independently

to bring its “organizational sage-grouse expertise to bear”).

               2.      September 2018 Utah Lease Sale

       On March 30, 2018, BLM released two draft EAs covering parcels in the Fillmore and

Salt Lake Field Offices proposed for the September 2018 lease sale, and under IM 2018-034

allowed just a 15-day comment period. Pls. SOF ¶ 38. For the remaining parcels, BLM posted

only a proposed parcel list and sought “scoping” comments. Id. Defendants state that a third EA

was prepared for these parcels, but it was never circulated for public comment. See Defs. SOF ¶

17. Defendants argue that a scoping period may be sufficient under NEPA, but the notice here

was by no means “reasonably thorough,” as required under Wilderness Soc’y v. U.S. Forest

Serv., 850 F. Supp. 2d 1144, 1164 (D. Idaho 2012). It provided only a bare-bones list of parcel



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coordinates and stipulations, without any information about the surface resources or potential

adverse impacts of oil and gas development. Compare UT36657 (scoping notice here), with All.

for Wild Rockies v. Farnsworth, No. 2:16-CV-433-BLW, 2017 WL 1591840, at *6 (D. Idaho

May 1, 2017) (holding Forest Service’s public involvement sufficient where it sent two scoping

letters, each 20 pages, that described the project in detail, included maps, and explained the

potential impacts on affected resources; and also held multiple public meetings).

               3.      September 2018 Nevada Lease Sale

       Finally, for the September 2018 Nevada sale, BLM did not issue any EAs for public

comment—it relied instead on two DNAs with no comment period to avoid doing any NEPA

analysis. See Pls. SOF ¶¶ 33–35. Defendants do not contest these facts but assert that BLM is

under no obligation to involve the public when using DNAs, because a DNA relies on prior

NEPA analysis that already underwent public comment. See Defs. Opp. at 32–34. This argument

fails for two reasons: first, the use of a DNA was improper as BLM’s prior NEPA analysis never

analyzed the site-specific effects of oil and gas development on these parcels; and second, BLM

violated its own NEPA Handbook in not allowing fresh public comment on the DNAs.

       It is first important for the Court to recognize that neither NEPA itself, nor the CEQ

NEPA regulations, make any provision for use of DNAs. It is the Department of Interior’s NEPA

regulations that purport to allow BLM and other Interior agencies to utilize them. See 43 C.F.R.

§ 46.120. DNAs are “NEPA checklist” forms designed to allow BLM employees to determine

whether they can rely on existing NEPA documents in place of new analysis. This Court and

others have previously rejected BLM’s attempt to rely on such “NEPA checklists” instead of

performing new NEPA analysis. See Idaho Watersheds Proj. v. Hahn, No. 97-cv-519-S-BLW

(D. Idaho Mar. 31, 1999) (ECF No. 129) (holding NEPA checklist improper, when BLM



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renewed Owyhee grazing permits based on EIS lacking site-specific analysis of affected lands),

aff’d 307 F.3d 815 (9th Cir. 2002).

       Here, the DNAs improperly relied on prior NEPA analysis containing no site-specific

analysis of the September 2018 Nevada lease parcels. BLM determined that EISs prepared for

the Wells and Elko field office RMPs, plus prior lease sale EAs from 2015, 2016 and 2017 for

entirely different parcels, sufficiently analyzed the impacts of the September 2018 Nevada Lease

Sale. NV3Q880-935 (Ely); NV3Q1914-37 (Elko). However, RMP EISs cannot be used in place

of pre-leasing NEPA analysis. See New Mexico ex rel. Richardson v. BLM, 565 F.3d 683, 688,

717–19 (10th Cir. 2009) (“NEPA requires BLM to conduct site-specific analysis before the

leasing stage”); Blue Mts. Biodiversity Project v. Blackwood, 161 F.3d 1208, 1214 (9th Cir.

1998) (The “existence of a programmatic EIS for a forest plan” does not “obviate[] the need for

any future project-specific EIS.”). Nor did the prior lease sale EAs analyze any of the September

2018 parcels. Id. BLM staff recognized this but determined to utilize DNAs anyway under the

rationale that the parcels “are adjacent/same valley to parcels analyzed in past [sic].” See

NV3187. Just because other sales in the “same valley” may have been previously evaluated does

not mean that the September 2018 parcels were also adequately assessed, since locations matter

very much to sage-grouse and other wildlife resources—one parcel might be PHMA with a lek,

whereas a parcel miles away but in the same valley may not be important habitat. Likewise,

developments since the prior EAs—including fires and energy projects—may affect the same

sage-grouse populations and habitats. BLM’s avoidance of any site-specific analysis of this

particular lease sale thus violated NEPA.

       Regardless of whether the DNAs were proper, Defendants’ failure to provide a fresh

comment period was arbitrary and capricious, as it disregards BLM’s own NEPA handbook. See



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Town of Barnstable v. Fed. Aviation Admin., 659 F.3d 28, 34 (D.C. Cir. 2011) (agency was

arbitrary and capricious where it departed, without explanation, from its own internal

guidelines). In discussing use of DNAs, BLM’s NEPA Handbook provides: “In general, where

the new proposed action has not already been discussed during public involvement for the

existing EA or EIS, some additional public involvement for the new proposed action will be

necessary.” BLMW298-99. It is undisputed that the prior EAs and EISs did not discuss the

September 2018 sale, so at a bare minimum, BLM should have allowed further public comment

before approving that leasing decision. BLM’s reliance on IM 2018-034 to avoid any NEPA

review or public comment demonstrates that the September 2018 Nevada sale was thus arbitrary,

capricious, and contrary to its NEPA duties.

               4.      These Comment Periods Did Not Involve the Public “To the Extent
                       Practicable”

       As this Court persuasively reasoned, “it strains common sense” to see how BLM met its

obligation under NEPA to involve the public “to the fullest extent possible,” 40 CFR § 1500.2,

and “to the extent practicable,” 40 C.F.R. § 1501.4(b), when these comment periods were far

more restrictive than the 30-day period BLM previously allowed under IM 2010-117. PI Order at

37; see also Fund For Animals v. Norton, 281 F. Supp. 2d 209, 226 (D.D.C. 2003) (holding two-

week comment period on EA insufficient). The record reveals no exigent circumstances that

might have warranted this newly-expedited timeframe.

       Intervenors wrongly suggest that BLM’s determination that 30-day comment periods are

no longer practicable is entitled to Auer deference. Interv. Opp. at 7 (citing Decker v. Nw. Envtl.

Def. Ctr., 568 U.S. 597, 613 (2013). Auer deference is only applicable to agency interpretations

of their own regulations, Decker, 568 U.S. at 613, and in this case BLM is interpreting CEQ’s

NEPA regulations. Even if Auer was applicable, an agency interpretation is given no deference

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where, as here, it reflects a change in prior practice. See Christopher v. SmithKline Becham

Corp., 567 U.S. 142, 158–59 (2012). BLM also lacked any reasoned basis for departing from its

prior 30-day comment period on each sale, rendering this change in policy arbitrary and

capricious. See supra Section II.B.2.9

       On both grounds—the sharply curtailed protest and comment periods—these June and

September 2018 Phase One sales must be held unlawful.

       C.      The Prior RMP Comment and Protest Periods Do Not Somehow Cure
               BLM’s Violations in Approving the Phase One Lease Sales.

       Intervenors claim that prior comment and protest periods on the governing RMPs and

2015 Sage-grouse Plans somehow provided Plaintiffs adequate opportunities to provide input to

BLM on the Phase One lease sales. See Interv. Opp. at 9–12. The Court may readily reject this

diversionary argument, since NEPA requires public notice and comment at the site-specific level,

which RMP-level NEPA analysis usually does not provide. See Blue Mts. Biodiversity Project,

161 F.3d at 1214 (9th Cir. 1998) (“Nothing in the tiering regulations suggests that the existence

of a programmatic EIS for a forest plan obviates the need for any future project-specific EIS”).

The fact that prior EISs contained general discussions of oil and gas development does not



9
  Intervenors wrongly claim that Plaintiffs must prove they would have provided “substantially
different” information had they been given more time. Interv. Opp. at 9. This standard
misconstrues Sequoia ForestKeeper v. Elliott, 50 F. Supp. 3d 1371 (E.D. Cal. 2014), where the
central issue was whether BLM violated NEPA by not publicly disclosing certain agency
reports. Id. at 1383. The court held that BLM provided sufficient public information because the
“specificity and scope” of plaintiffs’ comments showed they were adequately informed and
would not have provided “substantially different” input with access to the reports. Id. at 1388.
In Alliance for the Wild Rockies v. Farnsworth, No. 2:16-CV-433-BLW, 2017 WL 1591840 (D.
Idaho May 1, 2017), this Court similarly considered whether the public had been given
sufficient information, as opposed to sufficient time or opportunities to comment. Nonetheless,
Plaintiffs satisfy Intervenors’ standard, because their declarations establish that they and other
organizations were hampered due to the abbreviated deadlines. See infra Section IV.C.1
(summarizing declarations).

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eliminate BLM’s duty to provide site-specific NEPA analysis—and public comment—before

approving specific lease sales. Richardson, 565 F.3d at 688 (“NEPA requires BLM to conduct

site-specific analysis before the leasing stage”).

IV.     THE COURT SHOULD VACATE IM 2018-034 AND THE UNLAWFULLY
        ISSUED LEASES.

        A.      Vacatur Is the Presumptive Remedy for Unlawful Agency Actions.

        The APA directs that a reviewing court “shall . . . hold unlawful and set aside agency

action . . . found to be . . . arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with law.” See 5 U.S.C. § 706(2) (emphasis added). Thus, when a court determines

that an agency’s decision was unlawful under the APA, vacatur is the presumptive remedy.

        As the Ninth Circuit explained in Idaho Farm Bureau, however, “when equity demands,

the regulation can be left in place while the agency follows the necessary procedures” to correct

an unlawful action. 58 F.3d at 1405. But the Ninth Circuit has cautioned courts to employ their

equitable discretion to depart from this statutory remedy in “rare” or “limited” circumstances,

and only when “equity demands” an unlawful decision be left in place on remand. See Humane

Soc’y of U.S. v. Locke, 626 F.3d 1040, 1053 n.7 (9th Cir. 2010); Pollinator Stewardship Council

v. EPA, 806 F.3d 520, 532 (9th Cir. 2015). When determining whether to vacate, the Ninth

Circuit looks to the factors described in Allied–Signal, Inc. v. U.S. Nuclear Regulatory Comm’n,

988 F.2d 146, 150–51 (D.C. Cir. 1993), which are: (1) the seriousness of an agency’s errors, and

(2) the disruptive consequences that would result from vacatur. See Cal. Cmtys. Against Toxics v.

EPA, 688 F.3d 989, 992 (9th Cir. 2012). “[C]ourts may decline to vacate agency decisions when

vacatur would cause serious and irremediable harms that significantly outweigh the magnitude of

the agency’s error.” AquAlliance v. U.S. Bureau of Reclamation, 312 F. Supp. 3d 878, 881 (E.D.

Cal. 2018) (internal citations omitted).

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       The burden is on the defendant agency to show that compelling equities demand anything

less than vacatur. See Ctr. for Envtl. Health v. Vilsack, No. 15-cv-01690-JSC, 2016 WL

3383954, at *13 (N.D. Cal. June 20, 2016) (“given that vacatur is the presumptive remedy for a

procedural violation such as this, it is Defendants’ burden to show that vacatur is unwarranted”).

       Intervenors assert that “violation of a procedural statute necessitates a procedural

remedy.” Interv. Opp. at 17. That contradicts the plain language of the APA directing vacatur of

actions found to be “without observance of procedure required by law.” 5 U.S.C. § 706(2).

Courts have long held that vacatur is the “standard remedy for a NEPA violation.” See Friends of

the Capital Crescent Trail v. Fed. Transit Admin., 218 F. Supp. 3d 53, 59 (D.D.C. 2016); High

Country Conserv. Advocates v. U.S. Forest Serv., 67 F. Supp. 3d 1262, 1263 (D. Colo. 2014).

       B.      Defendants Have Not Shown that Vacatur of IM 2018-034 Is Unwarranted.

       Defendants and Intervenors mount no argument that vacatur of IM 2018-034 is

inappropriate, nor do the equities weigh in their favor. Under the first Allied-Signal factor,

BLM’s deliberate decision to bypass notice-and-comment procedures in adopting IM 2018-034

was a serious violation of both the APA and FLPMA. See, e.g., Heartland Reg’l Med. Ctr. v.

Sebelius, 566 F.3d 193, 199 (D.C. Cir. 2009) (“Failure to provide the required notice and to

invite public comment . . . is a fundamental flaw that ‘normally’ requires vacatur of the rule.”).

The second Allied-Signal factor likewise weighs in Plaintiffs’ favor as vacating IM 2018-034

would involve minimal disruption. Under the Court’s Preliminary Injunction Order, BLM has

already returned to the provisions of IM 2010-117 for sales involving sage-grouse habitat,

without any claimed hardship—let alone the type of serious consequences required to disrupt the

presumptive APA remedy of vacatur.

       Rather than argue against vacatur, Defendants suggest that once IM 2018-034 is vacated,



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BLM cannot be compelled to reinstate the rule previously in effect: IM 2010-117. This position

is flawed for several reasons. First, while Defendants concede the rule of automatic

reinstatement, Defs. Opp. at 29, they wrongly argue that it applies only to “regulations.” In fact,

reinstatement extends to prior agency “rules”—a category into which IM 2010-117 undoubtedly

falls. See Paulsen v. Daniels, 413 F.3d 999, 1008 (9th Cir. 2005) (“The effect of invalidating an

agency rule is to reinstate the rule previously in force.”).10 Regardless of how it was promulgated

or labelled, IM 2010-117 constitutes a rule, as is its successor IM 2018-034. See 5 U.S.C. §

551(4) (defining “rule” as “the whole or part of an agency statement of general or particular

applicability and future effect designed to implement, interpret, or prescribe law or policy”).

       Therefore, reinstatement of IM 2010-117 should occur as a matter of law after vacatur of

IM 2018-034, regardless of whether the Court’s order explicitly announces reinstatement. See

Turtle Island Restoration Network v. U.S. Dep’t of Commerce, 672 F.3d 1160, 1165 (9th Cir.

2012) (noting that reinstatement of the prior rule “operates as a matter of law under the vacatur,

and itwould have occurred even if the Consent Decree had remained silent on the subject”); see

also Defs. of Wildlife v. Salazar, 776 F. Supp. 2d 1178, 1186 (D. Mont. 2011) (“Agency [Wolf

Delisting] Rule is invalid and the wolves must be placed back under the protections of the ESA

pursuant to the Rule previously in force. The law imposes this requirement.”).

       Even absent automatic reinstatement, the Court is well within its equitable discretion to

order this type of remedy as permanent injunctive relief. See Cal. ex rel. Lockyer v. United

States, 575 F.3d 999, 1019–20 (9th Cir. 2009) (treating reinstatement of prior Roadless Rule as


10
  The D.C. Circuit has suggested this principle extends to prior “practices.” CropLife Am. v.
EPA, 329 F.3d 876, 884–85 (D.C. Cir. 2003); see also Turtle Island Restoration Network v. U.S.
Dep’t of Commerce, 672 F.3d 1160, 1165 (9th Cir. 2012) (reinstating a prior biological opinion).



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an injunction warranted “to avoid further degradation of the nation’s roadless areas”).11 Here,

permanent injunctive relief is warranted on the same grounds that justified the preliminary

injunction. The equities favor reinstating IM 2010-117 to avoid a regulatory vacuum in which

BLM is free to continue excluding public involvement, through informal means, as IM 2018-034

expressly allowed. Such a vacuum would subvert Congress’s intent under FLPMA Section

309(e)—that public participation be guaranteed through the stability of an agency rule—and

Congress’s intent under both NEPA and FLPMA to ensure that public lands decisions are made

with public involvement. Moreover, reinstatement of IM 2010-117 would give BLM an incentive

to undertake the rulemaking that is long overdue under FLPMA Section 309.

       Defendants find it “iron[ic]” that Plaintiffs would seek reinstatement of IM 2010-117, as

it was also issued without a notice-and-comment rulemaking process. Defs. Opp. at 1. There is

nothing ironic about Plaintiffs seeking to preserve public input into BLM oil and gas leasing. By

contrast, Defendants seek to allow BLM to continue, through informal means, the same unlawful

process set forth in IM 2018-034, even though Plaintiffs have prevailed. Similar concerns about

rewarding illegal agency actions have motivated the Ninth Circuit in crafting judicial remedies.

See Cal. ex rel. Lockyer, 575 F.3d at 1019–20 (expressing discomfort with “allow[ing] a major

environmental rule that the Court has determined was improperly repealed to nonetheless remain

permanently repealed”). What’s more, no court has yet ruled on the legality of IM 2010-117 and



11
   Defendants claim this Court “may not order BLM to follow particular rules in conducting its
oil and gas leasing program,” Defs. Opp. at 29, but they quote a case dealing with APA § 706(1),
not at issue here. See Mt. St. Helens Mining and Recovery Ltd. P’ship v. United States, 384 F.3d
721, 728 (9th Cir. 2004) (APA “§ 706(1) generally only allows the district court to compel an
agency to take action, rather than compel a certain result”). That case does not purport to delimit
a court’s equitable authority for § 706(2) violations. Even more spurious is their claim that
Plaintiffs seek to “order BLM to follow a different procedure of [the Court’s], or Plaintiffs’,
making,” Defs. Opp. at 1, when BLM itself crafted the procedures in IM 2010-117.

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the Court should not presume it is unlawful in considering remedies. See W. Watersheds Proj. v.

USDA APHIS Wildlife Services, No. 1:17-cv-206-BLW, 2018 WL 6251358, at *2 (D. Idaho

Nov. 29, 2018). Even if IM 2010-117 was unlawful, the Court has discretion to leave that rule in

place where “equity demands.” See Idaho Farm Bureau, 58 F.3d at 1405.

       In sum, vacatur and reinstatement are the presumptive remedies, and the equities clearly

favor this outcome. Thus, the Court’s order should vacate the challenged sections of IM 2018-

034 and reinstate the prior provisions of IM 2010-117 until BLM complies with its FLPMA duty

to adopt regulations for public participation in oil and gas leasing decisions.

       C.      Defendants Have Not Shown that Vacatur of the Lease Sales is Unwarranted.

       Defendants likewise have not met their burden to show that unusual circumstances

warrant anything less than vacatur of the Phase One leases unlawfully issued in BLM’s June and

September 2018 sales in Nevada, Utah, and Wyoming. Vacatur is a common and appropriate

form of relief for oil and gas leases and permits issued in violation of NEPA. See, e.g., San Juan

Citizens Alliance v. BLM, 326 F. Supp. 3d 1227 (D.N.M. 2018) (vacating oil and gas leases for

NEPA violation); Bob Marshall Alliance v. Lujan, 804 F. Supp. 1292, 1298 (D. Mont. 1992)

(cancelling leases due to NEPA and ESA violation); Diné Citizens Against Ruining Our Env’t v.

Bernhardt, 923 F.3d 831 (10th Cir. 2019) (vacating BLM drilling permits due to NEPA

violations); Pit River Tribe v. U.S. Forest Serv., 469 F.3d 768, 788 (9th Cir. 2006) (vacating

geothermal lease extensions due to BLM’s violation of NEPA and historic preservation laws).12


12
   Defendants and Intervenors argue lease suspension is the more appropriate remedy, Int. Opp.
at 17–18, Def. Opp. at 36, but the cases they cite are either distinguishable or unpersuasive. See
Connor v. Burford, 848 F.2d 1441 (9th Cir. 1988) (ordering suspension where plaintiffs did not
argue for lease vacatur); N. Cheyenne Tribe v. Hodel, 851 F.2d 1152 (9th Cir. 1988) (district
court did not abuse discretion in suspending rather than voiding coal leases adopted in violation
of NEPA, but not dismissing vacatur as a proper remedy); Mont. Wilderness Ass’n v. Fry, 408 F.


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Just as in these cases, the Allied Signal factors and other equitable considerations tip decidedly

toward vacatur.

               1.      Seriousness of Legal Deficiencies

       As for the first Allied-Signal factor, BLM’s deliberate decision to subvert public

involvement in its leasing decisions is not a minor violation, as Defendants and Intervenors

portray it. Rather, “public comment procedures are at the heart of the NEPA review process.”

California v. Block, 690 F.2d 753, 770 (9th Cir. 1982); see also Balt. Gas & Elec. Co. v. Nat.

Res. Def. Council, 462 U.S. 87, 97 (1983) (public involvement is one of NEPA’s twin aims); 40

C.F.R. § 1500.1(b) (“[P]ublic scrutiny [is] essential to implementing NEPA.”). Moreover, as the

Ninth Circuit has made clear, “relief for agency procedural error should be a strict reconstruction

of procedural rights” through vacatur, except in “unusual” circumstances. W. Oil & Gas v. U.S.

Envtl. Protection Agency, 633 F.2d 803, 813 (9th Cir. 1980).

       Nor were Defendants’ violations harmless. Again, the record shows that IM 2018-034

hampered or prevented the participation of numerous public interest groups, including Plaintiffs,

in the lease sales at issue. See Cunningham Decl. ¶¶ 8 (ECF No. 30-5) (Basin and Range Watch



Supp. 2d 1032, 1038 (D. Mont. 2006) (suspending leases where intervening National Monument
declaration prohibiting new leasing meant vacatur would permanently stop parcels from being
leased, a unique separation-of-powers concern not present here); Colo. Envtl. Coal. v. Office of
Legacy Mgmt., 819 F. Supp. 2d 1193 (D. Colo. 2011) (staying uranium leases where plaintiffs
challenged programmatic NEPA review of uranium leasing expansion but failed to demonstrate
why issuing leases without further NEPA review was arbitrary and capricious), amended on
reconsideration, No. 08-CV-01624-WJM-MJW, 2012 WL 628547 (D. Colo. Feb. 27, 2012); S.
Utah Wilderness All. v. U.S. Dep’t of the Interior, No. 06-CV-342-DAK, 2007 WL 2220525 (D.
Utah July 30, 2007) (dismissing action as moot due to BLM’s voluntary lease suspension, but
not discussing remedies); Willow Creek Ecology v. U.S. Forest Serv., 225 F. Supp. 2d 1312 (D.
Utah 2002) (same); Wilderness Soc’y v. Wisely, 524 F. Supp. 2d 1285 (D. Colo. 2007) (not
addressing vacatur case law or equitable balancing).
12
  Intervenors argue that the economic consequences would be “not solely limited to” lost lease
revenue but offer no other concrete evidence of such harm. See Int. Opp. at 19).

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hindered in participating in Nevada lease sales due to IM 2018-034); Emmerich Decl. ¶¶ 17–23

(ECF No. 30-7) (“shorter periods make it harder for [Basin and Range Watch] to mobilize the

interested public and write detailed comments,” and for Nevada June 2018 sale “[t]he protest

period was also effectively even shorter than 10 days because I had to have it finished 2 days

before the deadline to get it in on time . . . . A lot of details had to be eliminated to meet the

deadline”); Baker Decl. ¶ 39 (ECF No. 30-6) (Upper Green River Alliance was unable to provide

comments on the Wyoming September lease sale parcels due to the shortened deadlines);

Harrison Decl. ¶¶ 12, 14 (ECF No. 30-8) (Wyoming Wilderness Association had insufficient

time “to bring a lot of information to BLM’s attention [regarding September 2018 sale] because

the EA was a rushed, poor-quality, uninformative document. I simply couldn’t do an adequate

job”); Molvar Decl. ¶ 26 (ECF No. 30-3) (for September 2018 Wyoming sale, WWP could not

comment independently to bring its “organizational sage-grouse expertise to bear” and “would

have provided more sage-grouse and migratory bird information for the June 2018 Battle

Mountain oil and gas lease sale protest in Nevada” but for the extremely short protest period);

see also Stellberg Decl. Ex. 2 (ECF No. 63-3) (Colo. Gov. Hickenlooper expressing concerns

that IM 2018-034 “created significant barriers for . . . State staff to adequately review parcels).

        In this case, vacating the leases is particularly appropriate because the leasing decisions

were made pursuant to IM 2018-034—a rule designed to circumvent public involvement and

itself issued unlawfully without any public comment. Denying vacatur of actions implementing

this unlawful rule would provide a perverse incentive for agencies to avoid notice-and-comment

by issuing then quickly implementing de facto rules, without consequence.

                2.      Disruptive Consequences of Vacatur

        The effects of lease vacatur do not outweigh the seriousness of BLM’s violations. The



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Ninth Circuit has found remand without vacatur warranted only in rare circumstances, namely

where vacatur risks harm to the environment, Idaho Farm Bureau, 58 F.3d at 1405, or would

thwart the statute at issue, Western Oil & Gas, 633 F.2d at 813. For example, in Idaho Farm

Bureau, the court declined to vacate a procedurally flawed ESA listing rule because it would risk

“potential extinction” of the species. 58 F.3d at 1405. Similarly, in Western Oil & Gas, the Ninth

Circuit declined to vacate an EPA list of “nonattainment areas,” issued without notice and

comment, because of “a desire to avoid thwarting in an unnecessary way the operation of the

Clean Air Act.” 633 F.2d at 813. See also Ctr. for Food Safety v. Vilsack, 734 F. Supp. 2d 948,

951 (N.D. Cal. 2010) (“[T]he Ninth Circuit has only found remand without vacatur warranted by

equity concerns in limited circumstances, namely serious irreparable environmental injury”).

       No such unusual circumstances exist here. Vacatur here would avoid harm to the

environment and further the purposes of NEPA and FLPMA, by ensuring that BLM’s remedial

NEPA process is not a “post-hoc assessments of a done deal.” Nat. Res. Def. Council v. Houston,

146 F.3d 1118, 1029 (9th Cir. 1998); see 40 C.F.R. § 1502.5 (NEPA process must “not be used

to rationalize or justify decisions already made.”).

       As this Court already found, allowing “BLM to commit to a [leasing decisions] before

completing a full NEPA analysis may foreclose or diminish the prospect for an open-minded

examination of alternatives.” See PI Order at 43. Simply ordering an additional comment period,

while leaving the leases intact, would subvert the NEPA process and give the public little chance

of convincing BLM to impose more environmentally protective stipulations, or to withdraw

leases it already issued. Federal courts frequently consider this risk of bureaucratic momentum in

ordering vacatur. See Metcalf v. Daley, 214 F.3d 1135, 1146 (9th Cir. 2000) (questioning

whether, absent vacatur, a new NEPA document would “be a classic Wonderland case of first-



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the-verdict, then-the-trial?”); Houston, 146 F.3d at 1029 (upholding vacatur of water contracts to

“ensure[] that environmental concerns will be properly factored into the decision-making process

as intended by Congress”); Mont. Wilderness Ass’n v. Fry, 408 F. Supp. 2d 1032, 1037–38 (D.

Mont. 2006) (noting “the public’s interest in the NEPA process will be degraded if the process is

reduced to a series of hurdles to be cleared en route to a predetermined result” and questioning

“BLM’s ability to fulfill its procedural obligations without favoring a predetermined outcome . . .

motivated by an executive policy to maximize energy development.”); Diné Citizens Against

Ruining Our Env’t v. U.S. Office of Surface Mining Reclam. & Enf’t, No. 12-CV-01275-JLK,

2015 WL 1593995, at *3 (D. Colo. Apr. 6, 2015) (remand without vacatur risks making NEPA

“a mere bureaucratic formality”); High Country Conservation Advocates v. U.S. Forest Serv., 67

F. Supp. 3d 1262, 1265 (D. Colo. 2014) (vacating lease modifications because “NEPA’s goals of

deliberative, non-arbitrary decision-making would seem best served by the agencies approaching

these actions with a clean slate”).

       Plaintiffs acknowledge that vacatur will require BLM to refund lease revenues collected

from the June and September 2018 lease sales.13 However, cases denying vacatur on the basis of

economic harm have generally involved far more extreme circumstances. See, e.g., Cal. Cmtys.

Against Toxics, 688 F.3d at 993–94 (vacatur would cause needed power plant to stay off line and

cause blackouts and air pollution due to the use of diesel generators). Vacatur here would not

cause severe disruptions, such as power blackouts, or halt a nearly complete project.

       Courts have also questioned allowing economic harm to weigh against vacatur in

environmental cases, see Ctr. for Food Safety, 734 F. Supp. 2d at 953; PEER v. U.S. Fish &



13
  Intervenors argue that the economic consequences would be “not solely limited to” lost lease
revenue but offer no other concrete evidence of such harm. See Interv. Opp. at 19.

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Wildlife Serv., 189 F. Supp. 3d 1 (D.D.C. 2016); Nat. Res. Def. Council v. EPA, 676 F. Supp. 2d

307, 316–17 (S.D.N.Y. 2009), or found that economic harms do not outweigh environmental

risks, Diné Citizens, 2015 WL 1593995 (vacatur would be warranted upon NEPA violation

despite $400,000 in monthly losses); Diné Citizens Against Ruining Our Env’t v. Jewell, 312 F.

Supp. 3d 1031 (D.N.M. 2018) (vacatur warranted despite “hundreds of thousands or millions” of

lost oil and gas revenues), rev’d in part on other grounds, 923 F.3d 831 (10th Cir. 2019).

       Moreover, giving strong weight to economic loss would provide perverse incentives for

agencies and industry to invest heavily in potentially illegal projects up front. As Judge Boasberg

of the D.C. District Court explained in rejecting claimed economic disruption of “hundreds of

millions of dollars” allegedly lost from vacating an unlawful approval of a pipeline project:

       [D]enying vacatur on the basis of alleged economic harm risks creating undesirable
       incentives for future agency actions. If projections of financial distress are sufficient to
       prevent vacatur, the Court fears that agencies and third parties may choose to devote as
       many resources as early as possible to a challenged project – and then claim disruption in
       light of such investments. Such a strategy is contrary to the purpose of NEPA, which
       seeks to ensure that the government “looks before it leaps.” . . . Finding that vacatur’s
       alleged financial harms are dispositive under the second prong of Allied-Signal may
       encourage agencies to instead act first and ask later. In sum, although the Court concludes
       that there is likely to be some economic disruption from vacatur, this factor does not
       weigh heavily in Defendants’ favor under the Allied-Signal test.

Standing Rock Sioux Tribe v. U.S. Army Corps of Engrs, 282 F. Supp. 3d 91, 106 (D.D.C. 2017).

       Finally, in weighing the equities, the Court should consider that BLM proceeded with the

June and September 2018 auctions with full knowledge of this lawsuit (and similar claims raised

in their administrative protests). BLM’s decisions to nonetheless unlawfully constrain public

input, and the lessees’ decisions to nonetheless bid on these leases, were made at their own risk.

Any economic harm from the predictable and avoidable result of vacatur should not weigh in

their favor. See, e.g., Diné Citizens, 312 F. Supp. 3d at 1112 (vacatur warranted, despite

economic losses, where “the company assumed some risk of economic disruption”); NRDC, 676

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F. Supp. 2d at 317 (self-inflicted harm does not weigh against vacatur); Standing Rock Sioux,

282 F. Supp. 3d at 104 (company assumed risk by proceeding “with full knowledge that

Plaintiffs were contesting” the pipeline); Diné Citizens, 2015 WL 1593995, at *3 (vacatur

warranted despite expense, given that “the responsibility for such delay and expense lies with

Respondents”). This is not a case in which private entities proceeded in good faith reliance on an

agency decision that was later, and unexpectedly, held invalid. Cf. A.L. Pharma, Inc. v. Shalala,

62 F.3d 1484, 1492 (D.C. Cir. 1995) (declining to vacate drug approval to avoid inequitable

disruption to manufacturer that “relied on it in good faith for over thirteen years”).

       For all these reasons, the Allied-Signal factors and broader equities point decidedly

toward vacatur of the leases, rather than suspension.

                                          CONCLUSION

       For these reasons and those previously briefed, the Court should grant Plaintiffs’ Phase

One partial summary judgment motion, reverse and vacate IM 2018-034 and the Phase One June

and September 2018 lease sales, and reinstate the relevant provisions of IM 2010-117.



       Dated: July 31, 2019                             Respectfully submitted.

                                                        /s/ Sarah K. Stellberg      .
                                                        Sarah Stellberg (ISB #10538)
                                                        Laurence (“Laird”) J. Lucas (ISB # 4733)
                                                        Todd C. Tucci (ISB # 6526)

                                                        Attorneys for Plaintiffs




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                                CERTIFICATE OF SERVICE

I hereby certify that on this 31st day of July, 2019, I filed a copy of the foregoing PLAINTIFFS’
COMBINED RESPONSE/REPLY BRIEF ON CROSS-MOTIONS FOR PARTIAL
SUMMARY JUDGMENT (PHASE ONE) (ECF NOS. 135, 140, 148) electronically through the
CM/ECF system, which caused all parties or counsel of record to be served by electronic means,
as more fully reflected on the Notice of Electronic Filing.


Counsel for Federal Defendants                      Counsel for Defendant-Intervenors
                                                    Western Energy Alliance, State of
John Shaughnessy Most                               Wyoming, and Jonah Energy
U.S. Dept. of Justice
john.most@usdoj.gov                                 Bret A. Sumner
                                                    bsumner@bwenergylaw.com
Luther L. Hajek
U.S. Dept. of Justice                               Michael K Cross
luke.hajek@usdoj.gov                                mcross@bwenergylaw.com

Christine Gealy England                             Paul A. Turcke
christine.england@usdoj.gov                         pat@msbtlaw.com

                                                    Erik Edward Petersen
                                                    erik.petersen@wyo.gov

                                                    Malinda Morain
                                                    mmorain@bwenergylaw.com

                                                    Michael M. Robinson
                                                    mike.robinson@wyo.gov

                                                    Kathleen C Schroder
                                                    katie.schroder@dgslaw.com

                                                    Gail L Wurtzler
                                                    gail.wurtzler@dgslaw.com

                                                    Ausey H Robnett , III
                                                    arobnett@LCLattorneys.com




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